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                                                 U.S. Department of Justice


                                                 United States Attorney
                                                 Eastern District of New York
FR:BGK                                           271 Cadman Plaza East
F. #2019R00206                                   Brooklyn, New York 11201



                                                 January 4, 2022

By ECF
The Honorable Rachel P. Kovner
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Robert Smith
                     Criminal Docket No. 21-254 (RPK)

Dear Judge Kovner:

              Enclosed please find a proposed Order of Forfeiture (the “Order”) in the
above-captioned case, the terms of which the defendant, Robert Smith, has agreed to in
connection with his guilty plea accepted by Your Honor on October 6, 2021. The
government respectfully requests that the Court “so order” and enter the enclosed Order
pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure.

                                                 Respectfully submitted,

                                                 BREON PEACE
                                                 United States Attorney

                                          By:     /s/ Brendan G. King
                                                 Brendan G. King
                                                 Assistant U.S. Attorney
                                                 (718) 254- 6512
Encl.: Order of Forfeiture
cc:    Counsel of Record (by ECF)
